     Case 1:20-cv-03304-CAP-WEJ Document 1 Filed 08/11/20 Page 1 of 10




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

Tonya Spriggs,                               )
                                             )
       Plaintiff,                            )       Civil Action File No.:
                                             )
v.                                           )
                                             )
Cloud Willis & Ellis, LLC,                   )       COMPLAINT WITH
                                             )      JURY TRIAL DEMAND
       Defendant.                            )
                                             )

                            PRELIMINARY STATEMENT

      This action for damages is based upon the Defendant’s overt and intentional,

unlawful conduct in the furtherance of its efforts to collect a consumer debt. The

Defendant’s conduct is in violation of the Fair Debt Collection Practices Act

(FDCPA), 15 U.S.C. 1692 et seq. and for violations of the Georgia Fair Business

Practices Act (GFBPA), O.C.G.A. 10-1-390 et seq.

                                        PARTIES

      1.     Plaintiff, Tonya Spriggs, is a natural person who resides in Cobb

County, Georgia.

      2.     Defendant, Cloud Willis & Ellis, LLC, is a limited liability corporation

formed under the laws of the State of Alabama and not registered to do business in


                                         1
      Case 1:20-cv-03304-CAP-WEJ Document 1 Filed 08/11/20 Page 2 of 10




Georgia. Defendant may be served with process via its registered agent, Brian M

Cloud, at 3928 Montclair Road, Suite 227, Birmingham, Alabama 35213.

                              JURISDICTION AND VENUE

      3.     This Court has federal question jurisdiction over Plaintiff’s Fair Debt

Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq., claims pursuant to

28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d). This Court has supplemental jurisdiction

over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367.

      4.     This Court has personal jurisdiction over Defendant because, inter alia,

Defendants frequently and routinely conducts business in the State of Georgia,

including the conduct complained of herein.

      5.     Pursuant to 28 U.S.C. § 1391, venue is proper in the Northern District

of Georgia because a substantial part of the events or omissions giving rise to the

claims occurred in this district.

      6.     Pursuant to LR 3.1B(3), venue is proper in the Atlanta Division because

the events occurred in Cobb County which is in the Atlanta Division.

                            FACTUAL ALLEGATIONS

      7.     Plaintiff is allegedly obligated to pay a consumer debt arising out of

medical visit and is therefore, a “consumer”, as that term is defined by 15 U.S.C. §

1692a(3).

                                         2
     Case 1:20-cv-03304-CAP-WEJ Document 1 Filed 08/11/20 Page 3 of 10




      8.       Defendant is a law firm that devotes considerable resources to, and

generates substantial revenue from, the collection of consumer debt.

      9.       Defendant regularly collects, or attempts to collect, directly or

indirectly, debts owed or due, or asserted to be owed or due, to a third party.

      10.      Defendant uses interstate commerce and/or mail in its business in the

collection of consumer debts.

      11.      Defendant is, therefore, a “debt collector” as that term is defined by 15

U.S.C. § 1692a(6).

      12.      Defendant had reported adverse information on Plaintiff’s credit report.

      13.      On or about June 12, 2020, Plaintiff called Defendant in response to the

credit reporting.

      14.      During the phone call, Plaintiff advised Defendant that she could not

receive phone calls between 8:00 a.m. and 6:00 p.m. because she was at work and

could lose her job for receiving phone calls.

      15.      Plaintiff did seek to bar the Defendant from calling her at any hour

otherwise permitted by law; for example, between 6:00 p.m. and 9:00 p.m.

      16.      Defendant’s representative acknowledged her request.

      17.      Yet, Defendant called Plaintiff on July 14th at 2:30 p.m. while Plaintiff

was at work.

                                            3
     Case 1:20-cv-03304-CAP-WEJ Document 1 Filed 08/11/20 Page 4 of 10




      18.   Defendant’s actions caused Plaintiff anxiety and worry that she was

going to lose her job for receiving phone calls while she was at work.

      19.   Defendant took time out of her day to seek the advice of counsel

regarding the Defendant’s phone calls while she was at work.

                              INJURIES-IN-FACT

      20.   The FDCPA provides consumers with “statutorily-created rights to be

free from ‘being subjected to false, deceptive, unfair, or unconscionable means to

collect a debt.’” McCamis v. Servis One, Inc., No. 8:16-CV-1130-T-30AEP, 2016

U.S. Dist. LEXIS 99492 (M.D. Fla. July 29, 2016); Church v. Accretive Health, Inc.,

654 Fed. Appx. 990, 2016 U.S. App. LEXIS 12414, 2016 WL 3611543 (11th Cir.

2016).

      21.   An injury-in-fact sufficient to satisfy Article III standing requirements

“may exist solely by virtue of statutes creating legal rights, the invasion of which

creates standing.” Church, at 993, quoting Havens Realty Corp. v. Coleman, 455

U.S. 363, 373, 102 S. Ct. 1114, 71 L. Ed. 2d 214 (1982).

      22.   Violation of statutory rights are not a “hypothetical or uncertain” injury,

but one “that Congress has elevated to the status of a legally cognizable injury

through the FDCPA.” McCamis, at 4, citing Church, at 3.




                                         4
       Case 1:20-cv-03304-CAP-WEJ Document 1 Filed 08/11/20 Page 5 of 10




       23.   Defendant is subjecting Plaintiff to false, deceptive, unfair, and

unconscionable means to collect the debt.

       24.   Defendant’s acts and omissions caused particularized harm to the

Plaintiff in that she was suffered worry and anxiety that she was going to be fired

for receiving phone calls at work, and also that she took time to discuss this debt

with counsel in response to the calls.

       25.   Accordingly, through the suffering of actual damages and a violation

of Plaintiffs’ statutorily created rights under the FDCPA, Plaintiffs have suffered an

injury-in-fact sufficient to establish Article III standing

                                     DAMAGES

       26.   As a result of the Defendant’s actions and/or omissions, Plaintiff has

suffered actual damages, including but not limited to the following:

       a.)   Being subjected to false, deceptive, unfair, and unconscionable debt

collection practices;

       b.)   Uncompensated time expended away from work and/or activities of

daily living, to confer with counsel regarding the Defendant's collection efforts;

and,

       c.)   Anxiety and worry due to concerns that she might be fired for

receiving phone calls while at work.

                                            5
      Case 1:20-cv-03304-CAP-WEJ Document 1 Filed 08/11/20 Page 6 of 10




                               CAUSES OF ACTION

                                      COUNT I

  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                               15 U.S.C. § 1692 et seq.

      27.      Plaintiff incorporates by reference paragraphs 1 through 26 as though

fully stated herein.

Violations of 15 U.SC. § 1692c and subparts

      28.      A debt collector may not, without the prior consent of the consumer

given directly to the debt collector or the express permission of a court of competent

jurisdiction, communicate with a consumer in connection with the collection of any

debt at the consumer’s place of employment if the debt collector knows or has reason

to know that the consumer’s employer prohibits the consumer from receiving such

communication.

      29.      Defendant had direct and actual knowledge that the Plaintiff could not

receive calls while at work without jeopardizing her position.

      30.      Defendant’s call(s) as described herein violated 15 U.S.C. §

1692c(a)(3).

Violations of 15 U.SC. § 1692d and subparts




                                           6
      Case 1:20-cv-03304-CAP-WEJ Document 1 Filed 08/11/20 Page 7 of 10




      34.    Defendant’s phone calls to Plaintiff during hours which Defendant

knew Plaintiff could not receive phone calls were intended to harass, abuse,

embarrass, and intimidate the Plaintiff.

      35.    Defendant’s conduct violated 15 U.S.C. § 1692d.

      31.    As a result of Defendant’s violations of the FDCPA, Defendant is liable

to Plaintiffs for actual damages as described herein, statutory damages in the amount

of $1,000.00, costs of this action and reasonable attorney’s fees as determined by the

Court as mandated by 15 U.S.C. § 1692k.

                                     COUNT II

  VIOLATIONS OF THE GEORGIA FAIR BUSINESS PRACTICES ACT

                           O.C.G.A. § 10-1-390, et seq.

      32.    Plaintiff incorporates by reference paragraphs 1 through 31 as though

fully stated herein.

      33.    O.C.G.A. § 10-1-390 et seq. is commonly known as the "Fair Business

Practices Act of 1975" (the “GFBPA”).

      34.    The purpose of the GFBPA, is to protect consumers from unfair and/or

deceptive practices in the conduct of any trade or commerce in part or wholly in the

state. O.C.G.A. § 10-1-391.




                                           7
      Case 1:20-cv-03304-CAP-WEJ Document 1 Filed 08/11/20 Page 8 of 10




      35.    O.C.G.A. § 10-1-391 directs that the GFPBA is to be interpreted and

applied liberally and in harmony with the Federal Trade Commission Act, 15 U.S.C.

§ 45(a)(1), which implements the FDCPA.

      36.    O.C.G.A. § 10-1-393(a) of the GFBPA broadly prohibits unfair and/or

deceptive business practices.

      37.    Defendant intentionally engaged in unfair and deceptive business

practices, as set forth herein, in an effort to collect a consumer debt.

      38.    Defendant’s conduct has implications for the consuming public in

general.

      39.    Defendant’s conduct negatively impacts the consumer marketplace.

      40.    Collecting a debt incurred during a consumer transaction could harm

the general consuming public if conducted via deceptive acts or practices and clearly

falls within the parameters of the GFBPA. Thus, a violation of the FDCPA

constitutes a violation of the GFBPA. See 1st Nationwide Collection Agency, Inc. v.

Werner, 288 Ga. App. 457, 459 (2007).

      41.    Upon information and belief, Defendant does not maintain a place of

business in Georgia and has no assets in Georgia, thus relieving Plaintiffs of the

Notice and Demand requirements of O.C.G.A. § 10-1-399(b).




                                           8
       Case 1:20-cv-03304-CAP-WEJ Document 1 Filed 08/11/20 Page 9 of 10




       42.      As a result of Defendant’s violations of O.C.G.A. § 10-1-393(a),

Plaintiff is entitled to recover general damages pursuant to O.C.G.A. § 10-1-399(a).

       43.      As a result of Defendant’s intentional violations of O.C.G.A. § 10-1-

393(a), Plaintiff is entitled to recover exemplary damages pursuant to O.C.G.A. §

10-1-399(a).

       44.      As a result of Defendant’s intentional violations of O.C.G.A. § 10-1-

393(a), Plaintiff is entitled to recover treble damages pursuant to O.C.G.A. § 10-1-

399(c).

       45.      Plaintiff is entitled to recover reasonable attorney’s fees and expenses

of litigation pursuant to O.C.G.A. § 10-1-399(d).

                                        TRIAL BY JURY

       46.      Plaintiff is entitled to and hereby requests a trial by jury.

       WHEREFORE, Plaintiff prays that judgment be entered against Defendant

for:

a.)    Plaintiff’s actual damages;

b.)    Statutory damages pursuant to 15 U.S.C. § 1692k;

c.)    Reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k ;

d.)    General, exemplary, and treble damages pursuant to O.C.G.A. § 10-1-399(a)

       & (c);

                                              9
      Case 1:20-cv-03304-CAP-WEJ Document 1 Filed 08/11/20 Page 10 of 10




e.)    Reasonable attorney’s fees and costs pursuant to O.C.G.A. § 10-1-399(d);

       and

f.)    Such other and further relief as may be just and proper.

       Respectfully submitted this 23rd day of July, 2020.


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                                         10
